Case 1:18-cv-12125-ADB Document1 Filed 10/11/18 Page 1 of 54

UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

THE UNITED STATES OF AMERICA, UNDER SEAL
THE COMMONWEALTH OF MASSACHUSETTS,
ex rel. [UNDER SEAL]

Qui tam action filed in camera and
Plaintiffs under seal in accordance with 31

U.S.C. § 3730(b)(2)

Vv.

[UNDER SEAL]

Civil Action No.
Defendants.

 

COMPLAINT

pd fla 8

™.
a wv 1.
GU ome

‘
AA
mike
Case 1:18-cv-12125-ADB Document1 Filed 10/11/18 Page 2 of 54

UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

 

THE UNITED STATES OF AMERICA,

THE COMMONWEALTH OF MASSACHUSETTS,

ex rel. STEPHEN M. ZAPPALA, M.D.,

OLIVIA LANNA, M.D., and

ERIC WOJCIK,

Plaintiffs,
Vv.

STEWARD HEALTH CARE SYSTEM LLC,

STEWARD ST. ELIZABETH’S MEDICAL CENTER
OF BOSTON, INC.,

STEWARD HOLY FAMILY HOSPITAL, INC.,

STEWARD GOOD SAMARITAN MEDICAL
CENTER, INC.,

STEWARD ST. ANNE’S HOSPITAL CORP.,

STEWARD NORWOOD HOSPITAL, INC.,

STEWARD CARNEY HOSPITAL, INC.,

NASHOBA VALLEY MEDICAL CENTER, A
STEWARD FAMILY HOSPITAL, INC.,

MORTON HOSPITAL, A STEWARD FAMILY
HOSPITAL, INC.,

QUINCY MEDICAL CENTER, A STEWARD
FAMILY HOSPITAL, INC.,

NEW ENGLAND SINAI HOSPITAL, A STEWARD
FAMILY HOSPITAL, INC.,

STEWARD GOOD SAMARITAN RADIATION
ONCOLOGY CENTER, INC.,

STEWARD SEBASTIAN RIVER MEDICAL CENTER,
INC.,

STEWARD ROCKLEDGE HOSPITAL, INC.,

STEWARD MELBOURNE HOSPITAL, INC.,

STEWARD TRUMBULL MEDICAL HOSPITAL, INC.,

STEWARD SHARON REGIONAL HEALTH
SYSTEM, INC.,

STEWARD EASTON HOSPITAL, INC.,

STEWARD MEDICAL GROUP, INC.,

STEWARD HEALTH CARE NETWORK, INC.,

STEWARD INTEGRATED CARE NETWORK, INC.,

STEWARD NATIONAL CARE NETWORK, INC.,

STEWARD MEDICAID CARE NETWORK, INC., and

CERBERUS CAPITAL MANAGEMENT, L.P.,

Defendants.

 

 

COMPLAINT

UNDER SEAL

Qui tam action filed in camera and
under seal in accordance with 31
U.S.C. § 3730(b) (2)

Civil Action No.
Case 1:18-cv-12125-ADB Document1 Filed 10/11/18 Page 3 of 54

1, Plaintiff relators Stephen M. Zappala, M.D., Olivia Lanna, M.D., and Eric Wojcik
(collectively, “Relators”) bring this action on behalf of the United States of America and the
Commonwealth of Massachusetts against Steward Health Care System LLC, Steward St.
Elizabeth’s Medical Center of Boston, Inc., Steward Holy Family Hospital, Inc., Steward Good
Samaritan Medical Center, Inc., Steward St. Anne’s Hospital Corp., Steward Norwood Hospital,
Inc., Steward Carney Hospital, Inc., Nashoba Valley Medical Center, A Steward Family
Hospital, Inc., Morton Hospital, A Steward Family Hospital, Inc., Quincy Medical Center, A
Steward Family Hospital, Inc., New England Sinai Hospital, A Steward Family Hospital, Inc.,
Steward Good Samaritan Radiation Oncology Center, Inc., Steward Sebastian River Medical
Center, Inc., Steward Rockledge Hospital, Inc., Steward Melbourne Hospital, Inc., Steward
Trumbull Medical Hospital, Inc., Steward Sharon Regional Health System, Inc., Steward Easton
Hospital, Inc., Steward Medical Group, Inc., Steward Health Care Network, Inc., Steward
Integrated Care Network, Inc., Steward Medicaid Care Network, Inc., Steward National Care
Network, Inc., (collectively, “Steward”) and Cerberus Capital Management, L.P., (“Cerberus”)
(Steward and Cerberus are collectively referred to herein as “Defendants”) for violations of the
federal False Claims Act, 31 U.S.C. §§ 3729 et seq. (the “Federal FCA”), the federal Anti-
Kickback Statute, 42 U.S.C. § 1320a-7b(b) (the “Federal AKS”), and the federal Stark Statute,
42 U.S.C. § 1395nn (the “Stark Statute”), as well as the Massachusetts False Claims Act, Mass.
Gen. Laws ch. 12, §§ 5A et seq. (the “Massachusetts FCA”) and the Massachusetts Anti-
Kickback Statute, Mass. Gen. Laws ch. 118E § 41 (the “Massachusetts AKS”), to recover all

damages, civil penalties and all other recoveries provided for under these statutes.
Case 1:18-cv-12125-ADB Document1 Filed 10/11/18 Page 4 of 54

I. INTRODUCTION
2. This False Claims Act case arises from the actions of the Steward Health Care System
and its related entities, which today form the largest privately-owned for-profit hospital network
in the United States. Steward was founded in 2010 when the private equity firm defendant
Cerberus acquired a group of nine non-profit Catholic hospitals in eastern Massachusetts and
converted them into a for-profit enterprise. Cerberus expanded Steward into western
Massachusetts and then into numerous other states. Steward provides health care services to
Medicare and Medicaid (and private pay) patients. It showcases its highly integrated operations,
and a comerstone of this integrated business model is its Accountable Care Organizations
(“ACOs”). These ACOs bring together large groups of physicians, hospitals, and other providers
that apply for ACO status with CMS. ACOs are financially rewarded for adhering to CMS’s
participation and payment requirements, achieving a given level of efficiency, coordination, and
successful patient care, as measured by various government enumerated metrics.
3. Defendants Steward and Cerberus have wholly corrupted that ACO model, however.
Under the guise of utilizing it to deliver high quality health care efficiently, Defendants have
instead exploited the ACOs to choose profits over patient care. In the course thereof, they are
presenting false claims, and causing false claims to be submitted, to the government in several
ways: (1) using financial penalties, psychological pressure, and the threat of termination on
doctors, they have trapped Medicare and Medicaid patients within the Steward system,
unlawfully preventing them and their physicians from choosing the specialist or the hospital that
they believe is best; (2) they have used kickbacks and self-referrals to taint physician decisions
and keep patients in-network; (3) they have over prescribed and under managed patients on

opioids and other controlled substances; (4) they have caused physicians to engage in a pervasive
Case 1:18-cv-12125-ADB Document1 Filed 10/11/18 Page 5 of 54

pattern of failing to administer adequate patient care in order to lower costs;(5) they have
falsified or caused to be falsified clinical data within patient files; (6) they have provided, or
caused to be provided, information utilized to determine how much the ACOs will be reimbursed
that is materially false and misleading; and (7) by virtue of trapping patients, violating the
Federal AKS, the Massachusetts AKS, and the Stark Statute, and engaging in the other unlawful
activities alleged herein, they have violated the requirements of the ACOs, which, had that fact
been known, would have led to the ACOs’ termination.

Il. JURISDICTION & VENUE
4. Jurisdiction is founded upon the Federal FCA, 31 U.S.C. §§ 3729 et seq., specifically 31
U.S.C. §§ 3732(a) & (b), and also 28 U.S.C. §§ 1331 & 1345. The Court may exercise personal
jurisdiction over Steward and Cerberus Capital Management, L.P., because they transact
business in this District and are engaging in the alleged illegal activities and practices in this
District.
5. Venue in this District is appropriate under 31 U.S.C. § 3732(a), in that many of the acts
complained of took place in the District.

Il. PARTIES

6. The United States is a real party in interest to the claims of this action. The United States
administers the Medicare and Medicaid programs through the Department of Health and Human
Services (“HHS”) and Centers for Medicare & Medicaid Services (“CMS”).
7. The Commonwealth of Massachusetts is a real party in interest to the claims of this
action. The Commonwealth brings this action on behalf of its Medicaid program, MassHealth, as

well as its agencies and state interests.
Case 1:18-cv-12125-ADB Document1 Filed 10/11/18 Page 6 of 54

8. Plaintiff relator Stephen M. Zappala, M.D., is a physician specializing in Urology who
practices and resides in Massachusetts. Dr. Zappala is an internationally renowned urologist with
over 30 years of experience and the president of and sole physician at Andover Urology. He is a
Board-Certified Diplomat of the American Board of Urology specializing in both pediatric and
adult urologic surgery and is an Assistant Clinical Professor of Urology at Tufts University
School of Medicine. Dr. Zappala has held privileges at numerous hospitals and outpatient
surgical facilities located in Massachusetts, including, among others, Steward’s Holy Family
Hospital, Lahey Clinic, Parkland HCA Hospital, Salem Surgery Center, and Orchard Surgical
Center. Dr. Zappala did not join Steward Medical Group (defined below) and maintained his
individual medical practice at all times relevant herein. Dr. Zappala brings this action on behalf
of the United States and the Commonwealth of Massachusetts. The allegations in this complaint
are based in part upon information and knowledge that Dr. Zappala obtained first hand in the
course of treating patients who received care from providers employed by or affiliated with
Steward.

9. Plaintiff relator Olivia Lanna, M.D., is a board-certified physician specializing in internal
medicine who practices and resides in Massachusetts. Dr. Lanna practiced medicine as an
employee of defendant Steward Medical Group, Inc., from May 31, 2014 (contract signed
February 27, 2014) until she resigned on November 6, 2015. During her tenure at Steward
Medical Group, Dr. Lanna treated patients in the office and admitted them to various Steward
hospitals including St. Elizabeth’s Medical Center and Carney Hospital. She has also practiced
medicine at Tufts Medical Center (Boston, Massachusetts), Newport Hospital (Newport, Rhode
Island), Landmark Medical Center (Woonsocket, Rhode Island), and UMass Memorial Medical

Center (Worcester, Massachusetts). In addition, she has practiced at Rhode Island Hospital
Case 1:18-cv-12125-ADB Document 1 Filed 10/11/18 Page 7 of 54

where she served for four years on the admissions committee. She also served on the Board of
the Rhode Island Medical Women’s Association for four years, currently serves on the American
College of Physicians Chapter Health and Policy Committee, and is an active member of the
Massachusetts Medical Society. Dr. Lanna brings this action on behalf of the United States and
the Commonwealth of Massachusetts. The allegations in this complaint are based in part upon
information and knowledge that Dr. Lanna obtained first hand in the course of her employment
by Steward Medical Group and treating patients who received care from providers employed by
or affiliated with Steward.

10. Plaintiff relator Eric Wojcik is a health care professional who resides in Massachusetts.
From 2007 to 2016, Mr. Wojcik was the Director of Oncology Services & Community Outreach
Coordinator for Steward’s Good Samaritan Medical Center, having been promoted from the
position of Cancer Program Coordinator. In that position, Mr. Wojcik supervised Good
Samaritan Medical Center’s cancer treatment program. In 2016, Good Samaritan Medical Center
ended Mr. Wojcik’s employment ostensibly as part of a cost reduction strategy. Mr. Wojcik is
currently employed as a cancer registrar at Metrowest Medical Center in Framingham,
Massachusetts. Prior to joining Good Samaritan Medical Center, he worked as a cancer registrar
at Rhode Island Hospital in Providence, Rhode Island, for approximately two years. Mr. Wojcik
brings this action on behalf of the United States and the Commonwealth of Massachusetts. The
allegations in this complaint are based in part upon information and knowledge that Mr. Wojcik
obtained first hand while he worked at Good Samaritan Medical Center.

11. | Defendant Steward Health Care System LLC (“SHCS”), a for-profit Delaware limited
liability company, owns or is otherwise affiliated with and controls and operates, among other

entities, Steward Medical Holdings LLC (“SMH”), a Delaware limited liability company,
Case 1:18-cv-12125-ADB Document 1 Filed 10/11/18 Page 8 of 54

Steward Hospital Holdings LLC (“SHH”), a Delaware limited liability company, Steward
Medicaid Care Network, Inc. (““SMCN”), Steward Integrated Care Network, Inc. (“SICN”),
Steward Medical Group, Inc., Steward Health Care Network, Inc., Steward Medical Care
Network, Inc., Steward Hospital Management Company, and Steward Operations Holdings LLC
(“SOH”) that together form a broad health care system in Massachusetts. SHCS also owns or is
otherwise affiliated with and controls and operates multiple hospitals and health care provider
entities, including the hospitals named as defendants herein. SHCS maintains its corporate
headquarters in Dallas, Texas. Prior to approximately August 28, 2018, it maintained its
corporate headquarters at 111 Huntington Ave., Suite 1800, Boston, Massachusetts. SHCS is
owned and controlled by Cerberus Capital Management, L.P., and/or affiliates of the private
investment firm. In a complaint filed against Blue Cross & Blue Shield of Rhode Island in 2013,
SHCS describes itself as “an integrated health care delivery system and accountable care
organization.”

12. Defendant Steward St. Elizabeth’s Medical Center of Boston, Inc., a Delaware
corporation, owns and operates St. Elizabeth’s Medical Center located in Brighton,
Massachusetts. St. Elizabeth’s Medical Center of Boston, Inc., is a subsidiary of SHH and
maintains its principal office at 111 Huntington Ave., Suite 1800, Boston, Massachusetts.

13. Defendant Steward Holy Family Hospital, Inc., a Delaware corporation, owns and
operates the Holy Family Hospitals located in Methuen and Haverhill, Massachusetts (Holy
Family Hospital - Haverhill was formerly known as the Hale Hospital and subsequently
Merrimack Valley Hospital). Steward Holy Family Hospital, Inc., is a subsidiary of SHH and
SHCS and maintains its principal office at 111 Huntington Ave., Suite 1800, Boston,

Massachusetts.
Case 1:18-cv-12125-ADB Document1 Filed 10/11/18 Page 9 of 54

14. Defendant Steward Good Samaritan Medical Center, Inc., a Delaware corporation, owns
and operates Good Samaritan Medical Center located in Brockton, Massachusetts. Good
Samaritan Medical Center, Inc., is a subsidiary of SHH and SHCS and maintains its principal
office at 111 Huntington Ave., Suite 1800, Boston, Massachusetts.

15. Defendant Steward St. Anne’s Hospital Corporation, a Delaware corporation, owns and
operates St. Anne’s Hospital located in Fall River, Massachusetts. St. Anne’s Hospital
Corporation is a subsidiary of SHH and SHCS and maintains its principal office at 111
Huntington Ave., Suite 1800, Boston, Massachusetts.

16. Defendant Steward Norwood Hospital, Inc., a Delaware corporation, owns and operates
Norwood Hospital located in Norwood, Massachusetts. Steward Norwood Hospital, Inc., is a
subsidiary of SHH and SHCS and maintains its principal office at 111 Huntington Ave., Suite
1800, Boston, Massachusetts.
17. Defendant Steward Carney Hospital, Inc., a Delaware corporation, owns and operates
Carney Hospital located in Dorchester, Massachusetts. Steward Carney Hospital, Inc., is a
subsidiary of SHH and SHCS and maintains its principal office at 111 Huntington Ave., Suite
1800, Boston, Massachusetts.

18. | Defendant Nashoba Valley Medical Center, A Steward Family Hospital, Inc., a Delaware
corporation, owns and operates Nashoba Valley Medical Center located in Ayer, Massachusetts.
Nashoba Valley Medical Center, A Steward Family Hospital, Inc., is a subsidiary of SMH and
SHCS and maintains its principal office at 111 Huntington Ave., Suite 1800, Boston,
Massachusetts.

19. | Defendant Morton Hospital, A Steward Family Hospital, Inc., a Delaware corporation,

owns and operates Morton Hospital located in Taunton, Massachusetts. Morton Hospital, A
Case 1:18-cv-12125-ADB Document1 Filed 10/11/18 Page 10 of 54

Steward Family Hospital, Inc., is a subsidiary of SMH and SHCS and maintains its principal
office at 111 Huntington Ave., Suite 1800, Boston, Massachusetts.

20. Defendant Quincy Medical Center, A Steward Family Hospital, Inc., a Delaware
corporation, owns and operates Quincy Medical Center in Quincy, Massachusetts. Quincy
Medical Center, A Steward Family Hospital, Inc., is a subsidiary of SMH and SHCS and
maintains its principal office at 111 Huntington Ave., Suite 1800, Boston, Massachusetts.

21. Defendant New England Sinai Hospital, A Steward Family Hospital, Inc., a Delaware
corporation, owns and operates New England Sinai Hospital located in Stoughton,
Massachusetts. New England Sinai Hospital, A Steward Family Hospital, Inc., is a subsidiary of
SMH and SHCS and maintains its principal office at 111 Huntington Ave., Suite 1800, Boston,
Massachusetts.

22. Defendant Steward Good Samaritan Radiation Oncology Center, Inc., a Delaware
corporation, owns and operates the Good Samaritan Radiation Oncology Center at the Good
Samaritan Medical Center located in Brockton, Massachusetts. Good Samaritan Radiation
Oncology Center, Inc., is a subsidiary of SOH and SHCS and maintains its principal office at
111 Huntington Ave., Suite 1800, Boston, Massachusetts.

23. Defendant Steward Sebastian River Medical Center, Inc., a Delaware corporation, owns
and operates Sebastian River Medical Center located in Sebastian, Florida. Steward Sebastian
River Medical Center, Inc., is a subsidiary of SHCS and maintains its principal office at 111
Huntington Ave., Suite 1800, Boston, Massachusetts.

24. Defendant Steward Rockledge Hospital, Inc., a Delaware corporation, owns and operates

Rockledge Regional Medical Center located in Rockledge, Florida. Steward Rockledge Hospital,
Case 1:18-cv-12125-ADB Document1 Filed 10/11/18 Page 11 of 54

Inc., is a subsidiary of SHCS and maintains its principal office at 111 Huntington Ave., Suite
1800, Boston, Massachusetts.

25. Defendant Steward Melbourne Hospital, Inc., a Delaware corporation, owns and operates
Defendant Melbourne Regional Medical Center located in Melbourne, Florida. Steward
Melbourne Hospital, Inc., is a subsidiary of SHCS and maintains its principal office at 111
Huntington Ave., Suite 1800, Boston, Massachusetts.

26. Defendant Steward Trumbull Medical Hospital, Inc., a Delaware corporation, owns and
operates Trumbull Regional Medical Center located in Warren, Ohio. Steward Trumbull Medical
Hospital, Inc., is a subsidiary of SHCS and maintains its principal office at 111 Huntington Ave.,
Suite 1800, Boston, Massachusetts.

27. Defendant Steward Sharon Regional Health System, Inc., a Delaware corporation, owns
and operates Sharon Regional Medical Center located in Sharon, Pennsylvania. Steward Sharon
Regional Health System, Inc., is a subsidiary of SHCS and maintains its principal office at 111
Huntington Ave., Suite 1800, Boston, Massachusetts.

28. Defendant Steward Easton Hospital, Inc., a Delaware corporation, owns and operates
Easton Hospital located in Easton, Pennsylvania. Steward Easton Hospital, Inc., is a subsidiary
of SHCS and maintains its principal office at 111 Huntington Ave., Suite 1800, Boston,
Massachusetts.

29. Defendant Steward Medical Group, Inc., (formerly known as Steward Physician
Network, Inc.), a Massachusetts corporation, employs multi-specialty physician groups and
physicians practicing at Steward’s hospitals located in Massachusetts. Steward Medical Group is
a subsidiary of SHCS and maintains its principal office at 111 Huntington Ave., Suite 1800,

Boston, Massachusetts.
Case 1:18-cv-12125-ADB Document1 Filed 10/11/18 Page 12 of 54

30. Defendant Steward Health Care Network, Inc., (“SHCN”), a Delaware corporation,
consists of a network of primary care physicians and specialists serving the Steward Health Care
System in ten states. It is also responsible for Steward’s managed care contracts, medical
management services, quality improvement programs, and data analysis and information
services. SHCN also performs the Medicare and Medicaid billing functions for Steward’s
hospitals located in Massachusetts and physicians employed by Steward Medical Group. SHCN
is a subsidiary of SOH and SHCS and maintains its principal office at 111 Huntington Ave.,
Suite 1800, Boston, Massachusetts.

31. Defendant Steward Medicaid Care Network, Inc., (““SMCN”), a Delaware corporation, is
a Medicaid Accountable Care Organization. SMCN is a subsidiary of SHCS and maintains its
principal office at 111 Huntington Ave., Suite 1800, Boston, Massachusetts.

32. Defendant Steward Integrated Care Network, Inc., (“SICN”), a Delaware corporation, is a
Medicare Accountable Care Organization. SICN is a subsidiary of SHCN and SHCS and
maintains its principal office at 111 Huntington Ave., Suite 1800, Boston, Massachusetts.

33. Defendant Steward National Care Network, Inc., (““SNCN”), a Delaware corporation, is
an Accountable Care Organization. SNCN is a subsidiary of SHCS and maintains its principal
office at 111 Huntington Ave., Suite 1800, Boston, Massachusetts.

34.  Atall times relevant to the allegations herein, the financial and operational management,
supervision, control, and reporting by and between SHCS, Steward St. Elizabeth’s Medical
Center of Boston, Inc., Steward Holy Family Hospital, Inc., Steward Good Samaritan Medical
Center, Inc., Steward St. Anne’s Hospital Corporation, Steward Norwood Hospital, Inc., Steward
Carey Hospital, Inc., Nashoba Valley Medical Center, A Steward Family Hospital, Inc., Morton

Hospital, A Steward Family Hospital, Inc., Quincy Medical Center, A Steward Family Hospital,

10
Case 1:18-cv-12125-ADB Document1 Filed 10/11/18 Page 13 of 54

Inc., New England Sinai Hospital, A Steward Family Hospital, Inc., Steward Good Samaritan
Radiation Oncology Center, Inc., Steward Sebastian River Medical Center, Inc., Steward
Rockledge Hospital, Inc., Steward Melbourne Hospital, Inc., Steward Trumbull Medical
Hospital, Inc., Steward Sharon Regional Health System, Inc., Steward Easton Hospital, Inc.,
Steward Medical Group, SHCN, SMCN, SICN, and SNCN (collectively referred to herein as
“Steward”) have been so inextricably intertwined that in effect they have functioned as one
single entity.
35. Defendant Cerberus Capital Management, L.P. (“Cerberus”), a Delaware limited
partnership, is a private investment firm that by and through one or more of its investment
portfolios or funds, owns and controls SHCS and its subsidiaries and affiliates. Cerberus
maintains its principal office at 875 Third Avenue, New York, New York.
IV. LEGAL BACKGROUND

A. APPLICABLE ANTI-FRAUD STATUTES

1. The Federal False Claims Act
36. | The Federal FCA imposes liability on:

[A]ny person who—

.(A) knowingly presents, or causes to be presented, a false or fraudulent claim for
payment or approval;

(B) knowingly makes, uses, or causes to be made or used, a false record or
statement material to a false or fraudulent claim;

(C) conspires to commit a violation of subparagraph (A), (B), ... or (G); [or]

* kK *

(G) knowingly makes, uses, or causes to be made or used, a false record or
statement material to an obligation to pay or transmit money or property to
the Government, or knowingly conceals or knowingly and improperly avoids
or decreases an obligation to pay or transmit money or property to the
Government{.]

1]
Case 1:18-cv-12125-ADB Document1 Filed 10/11/18 Page 14 of 54

31 U.S.C. §§ 3729(a)(1)(A)-(C) & (G).

37. The term “knowingly” means “that a person, with respect to information (1) has actual
knowledge of the information; (2) acts in deliberate ignorance of the truth or falsity of the
information; or (3) acts in reckless disregard of the truth or falsity of the information.” 31 U.S.C.
§ 3729(b)(1)(A). Proof of specific intent to defraud is not required. See 31 U.S.C. §
3729(b)(1)(B).

38. Section 3729(a)(1) of the Federal FCA provides that a person is liable to the United
States government for three times the amount of damages that the government sustains because
of the act of that person, plus a civil penalty of $5,000 to $10,000 per violation. Pursuant to the
Federal Civil Penalties Inflation Adjustment Act of 1990, as amended by the Debt Collection
Improvement Act of 1996, 28 U.S.C. § 2461 (notes), 64 Fed. Reg. 47099, 47103 (1999), and 28
C.F.R. § 85.3 (2015), the Federal FCA civil penalties were adjusted to $5,500 to $11,000 per
violation for violations occurring on or after October 23, 1996. In accordance with the Federal
Civil Penalties Inflation Adjustment Act of 2015, the Federal FCA civil penalty amounts were
again adjusted, this time to $10,957 to $21,916 per violation for violations occurring after
November 2, 2015. See 28 C.F.R. §§ 85.3 & 85.5 (2016); 81 Fed. Reg. 42491, 42500 (2016).
Thereafter, the civil penalties have been adjusted annually and, for penalties assessed after
January 29, 2018, are $11,181 to $22,363 per violation.

39. As codified in the Patient Protection and Affordable Care Act of 2010 (“PPACA”), Pub.
L. No. 111-148, § 6402(f)(1), 124 Stat. 759, codified at 42 U.S.C. § 1320a-7b(g), “a claim that
includes items or services resulting from a violation of [the Federal AKS] constitutes a false or
fraudulent claim for purposes of [the Federal FCA].” As stated in the legislative history of the

PPACA, the purpose of this amendment was to clarify “that all claims resulting from illegal

12
Case 1:18-cv-12125-ADB Document1 Filed 10/11/18 Page 15 of 54

kickbacks are considered false claims for the purpose of civil actions under the [Federal FCA],

even when the claims are not submitted directly by the wrongdoers themselves.” 155 Cong. Rec.

$10854 (Oct. 28, 2009).

40.

2.

The Massachusetts False Claims Act

The Massachusetts FCA imposes liability on:

Any person who:

(1)

(2)

(3)
(4)

knowingly presents, or causes to be presented, a false or fraudulent claim for
payment or approval;

knowingly makes, uses or causes to be made or used a false record or
statement material to a false or fraudulent claim;

conspires to commit a violation of this subsection;
knowingly presents, or causes to be presented, a claim that includes items or

services resulting from a violation of [the Federal AKS or Massachusetts
AKS];

KK

(10) is a beneficiary of an inadvertent submission of a false claim to the

commonwealth or a political subdivision thereof, or is a beneficiary of an
overpayment from the commonwealth or a political subdivision thereof, and
who subsequently discovers the falsity of the claim or the receipt of
overpayment and fails to disclose the false claim or receipt of overpayment to
the commonwealth or a political subdivision by the later of: (i) the date
which is 60 days after the date on which the false claim or receipt of
overpayment was identified; or (ii) the date any corresponding cost report is
due[.]

Mass. Gen. Laws ch. 12, § 5B(a)(1)-(4), (10).

41.

The term “knowingly” means “possessing actual knowledge of relevant information,

acting with deliberate ignorance of the truth or falsity of the information or acting in reckless

disregard of the truth or falsity of the information.” Mass. Gen. Laws ch. 12, § 5A. Proof of

specific intent to defraud is not required. See id.

13
Case 1:18-cv-12125-ADB Document1 Filed 10/11/18 Page 16 of 54

42. | Any person who violates Mass. Gen. Laws ch. 12, § 5B(a) is liable to the Commonwealth
for three times the amount of damages, including consequential damages, that the
Commonwealth sustains plus a civil penalty of no more than $11,000 and no less than $5,500 for
each false claim submitted on or before November 2, 2015, and civil penalties of no more than
$21,916 and no less than $10,957 for each false claim submitted on or after November 3, 2015.
See Mass. Gen. Laws ch. 12, § 5B(a).

3. The Federal Anti-Kickback Statute
43. The primary purpose of the Federal AKS, 42 U.S.C. § 1320a-7b(b), is to protect patients
and the government health care programs from the corruptive influence of kickbacks and bribes
on treatment decisions. The government health care programs rely upon medical providers to
furnish treatment that is medically necessary and appropriate. Kickbacks and bribes taint the
decisions of providers and beneficiaries and compromise the integrity of the provider-patient
relationship.
44. To protect patients and the government health care programs from medically unnecessary
treatment, treatment of inferior quality, and harmful treatment, Congress enacted the Federal
AKS in 1972, barring the payment of kickbacks and bribes to providers. See Social Security
Amendments of 1972, Pub. L. No. 92-603, §§ 242(b) & (c). Congress subsequently strengthened
the statute in 1977 and again in 1987 to ensure that kickbacks disguised as legitimate
transactions do not evade its reach. See Medicare-Medicaid Antifraud and Abuse Amendments,
Pub. L. No. 95-142; Medicare and Medicaid Patient Program Protection Act of 1987, Pub. L. No.

100-93.

14
Case 1:18-cv-12125-ADB Document1 Filed 10/11/18 Page 17 of 54

45. Violation of the Federal AKS is a felony punishable by fines and imprisonment and can
also result in exclusion from participation in federal health care programs. See 42 U.S.C. §§
1320a-7b(b)(2) & (7).

46. Specifically, the Federal AKS makes it illegal for individuals or entities to “knowingly
and willfully offer[] or pay[] remuneration (including any kickback, bribe, or rebate) directly or
indirectly, overtly or covertly, in cash or in kind to any person to induce such person ... to
purchase, ... order, ... or recommend purchasing ... or ordering any good ... service or item for
which payment may be made in whole or in part under a Federal health care program.” 42 U.S.C.
§ 1320a-7b(b)(2).

47.  Inorder to establish a violation of the Federal AKS, one must allege that the defendant
knowingly and willfully: (1) offered or paid remuneration of any kind, directly or indirectly that
was (2) intended in any part to induce the utilization of federal health care services.

48. The term “remuneration” includes anything of value, in whatever form, whether in cash
or in kind, or offered directly or indirectly. AKS violations do not contain a fair market value or
commercial unreasonableness element. As long as remuneration is intended to induce referrals, it
is unlawful — even where the remuneration is fair market value or commercially reasonable. See
United States ex rel. Bartlett v. Ashcroft, 39 F. Supp. 3d 656, 677 (W.D. Pa. 2014).

49. “Intent to induce” is shown if one purpose of payment was to induce referrals of federal
health care business. United States v. Bay State Ambulance & Hosp. Rental Serv., 874 F.2d 20,
30 (Ist Cir. 1989).

50. Claims submitted or caused to be in submitted while in knowing violation of the Federal

AKS are false claims.

15
Case 1:18-cv-12125-ADB Document1 Filed 10/11/18 Page 18 of 54

4. The Massachusetts Anti-Kickback Statute
51. The Massachusetts AKS makes it illegal for individuals or entities to:
(a) solicit[] or receive[] any remuneration, including any bribe or rebate, directly
or indirectly, overtly or covertly, in cash or in kind in return for purchasing,
leasing, ordering or arranging for or recommending purchasing, leasing, or
ordering any good, facility, service, or item for which payment may be made
in whole or in part [by MassHealth]; or
(b) offer{] or pay[] any remuneration, including any bribe or rebate, directly or
indirectly, overtly or covertly. in cash or in kind to induce such person to
purchase, lease, order, or arrange for or recommend purchasing, leasing. or
ordering any good. facility, service, or item for which payment may be made
in whole or in part [by MassHealth.]
Mass. Gen. Laws ch. 118E § 41.
52. It is a violation of the Massachusetts FCA to knowingly present, or cause to be presented,
a claim that includes items or services resulting from a violation of the Massachusetts AKS. See
Mass. Gen. Laws ch. 12, § 5B(a){4).
53. In addition, violation of the Massachusetts AKS is a felony punishable by fines and
imprisonment. See Mass. Gen. Laws ch. 118E § 41.
5. The Stark Statute
54. The Stark Statute, 42 U.S.C. § 1395nn, prohibits entities that provide health care services,
including hospitals, from being reimbursed by Medicare or Medicaid for “designated health
services” if such services are the result of a referral from a physician with whom the health care
entity has a “financial relationship,” unless a statutory exception applies.

55. “Designated health services” include, among other services and items:

inpatient and outpatient hospital services
clinical laboratory services

physical therapy services

occupational therapy services

radiology services

radiation therapy services and supplies

16
Case 1:18-cv-12125-ADB Document1 Filed 10/11/18 Page 19 of 54

e outpatient prescription drugs
42 U.S.C. § 1395nn(h)(6).
56. One of Congress’s principal objectives in enacting the statute was to prevent the losses
that the government and taxpayers could suffer as a result of questionable utilization and other
abuses of health services that occur when physicians have financial] relationships with certain
ancillary service entities to which they refer Medicare and Medicaid patients. See 69 Federal
Register 16124 (Mar. 26, 2004).
57. The Stark Statute provides that the United States will not pay for designated health
services referred by a physician who has an improper financial relationship with the billing
provider. See 42 U.S.C. § 1395nn(g)(1).
58. For purposes of the Stark Statute, a “financial relationship” includes a “compensation
arrangement,” which means any arrangement between a physician and an entity under which the
entity pays any remuneration, directly or indirectly, overtly or covertly, in cash or in kind, to the
physician. 42 U.S.C. §§ 1395nn(a)(2)(B) & (h)(1)(A)-(B); 42 C.F.R. § 411.354(c).
59. The Stark Statute and its companion regulations contain exceptions for certain types of
“compensation arrangements.” 42 U.S.C. § 1395nn(e). For a compensation arrangement to
qualify for an exception, the remuneration and payments under the relationship and arrangement
must not be determined in a manner that takes into account the volume or value of any referrals.
See id.
60. The Stark Statute also applies to claims under Medicaid, as 42 U.S.C. § 1396b(s)
prohibits the use of federal funds to pay for designated health services provided to Medicaid

beneficiaries when such services are the result of a prohibited referral. See 42 U.S.C. § 1396b(s).

17
Case 1:18-cv-12125-ADB Document1 Filed 10/11/18 Page 20 of 54

61. In addition, any entity collecting payment for a health care service resulting from a
prohibited referral must refund all collected amounts on a timely basis. 42 U.S.C. §
1395nn(g)(2); 42 C.F.R. § 411.353(d).
62. In pertinent part, the Stark Statute provides:
(a) Prohibition of certain referrals
(1) In general
Except as provided in subsection (b) of this section [which sets forth
general exception to both ownership and compensation arrangement
prohibitions], if a physician ... has a financial relationship with an entity
specified in paragraph (2), then —
(A) the physician may not make a referral to the entity for the
furnishing of designated health services for which payment
otherwise may be made under this subchapter, and
(B) the entity may not present or cause to be presented a claim under
this subchapter or bill to any individual, third party payor, or other
entity for designated health services furnished pursuant to a referral
prohibited under subparagraph (A).
42 U.S.C. § 1395nn(a)(1).
B. APPLICABLE GOVERNMENT HEALTH CARE PROGRAMS
1. The Medicare Program
63. The United States, through HHS and CMS, administers the Medicare Program primarily
for persons 65 and older and the disabled. The Medicare program was established by Title XVIII
of the Social Security Act, 42 U.S.C. §§ 1395 et seg.
64. The Medicare program is divided into four “parts” that cover different services. Medicare
Part A generally covers inpatient hospital services and services for patients with end-stage renal

disease (ESRD). Medicare pays hospitals and ESRD providers a bundled rate under its

prospective payment system (PPS).

18
Case 1:18-cv-12125-ADB Document1 Filed 10/11/18 Page 21 of 54

65. | Medicare Part B generally covers outpatient physician services, including prescription
drugs administered “incident to” physician services.

66. | Medicare Part C provides for private companies to offer “Medicare Advantage” plans
that include, at a minimum, all benefits covered by Parts A and B. Medicare pays a fixed
monthly amount per beneficiary to the private companies that offer Medicare Advantage plans.
67. Medicare Part D, effective January 1, 2006, provides prescription drug benefits by means
of private companies referred to as Part D sponsors.

68. Medical necessity is a fundamental requirement for Medicare coverage. Medicare does
not cover any expenses incurred for services that “are not reasonable and necessary for the
diagnosis or treatment of illness or injury ....” 42 U.S.C. § 1395y(a)(1)(A).

69. It is the obligation of every health care provider seeking reimbursement under Medicare
to assure that services it provides “(1) will be provided economically and only when, and to the
extent, medically necessary; (2) will be of a quality which meets professionally recognized
standards of health care; and (3) will be supported by evidence of medical necessity and quality
in such form and fashion and at such time as may reasonably be required by a reviewing quality
improvement organization in the exercise of its duties and responsibilities.” 42 U.S.C. § 1320c-
5(a).

70.  Inorder to assess the reasonableness and necessity of those services and whether
payment is appropriate, Medicare requires proper and complete documentation of the services
rendered to beneficiaries. In particular, the Medicare statute provides that: “No payment shall be
made to any provider of services or other person under this part unless there has been furnished

such information as may be necessary in order to determine the amounts due such provider or

19
Case 1:18-cv-12125-ADB Document1 Filed 10/11/18 Page 22 of 54

other person under this part for the period with respect to which the amounts are being paid or
for any prior period.” 42 U.S.C. § 1395](e).

2. The MassHealth Program
71. Medicaid is a joint federal-state program created in 1965 that provides health care
benefits for certain groups, primarily the poor and disabled. The Commonwealth of
Massachusetts administers a state Medicaid program, which it calls MassHealth. The federal
Medicaid statute requires each participating state to implement a plan containing certain
specified minimum criteria for coverage and payment of claims. See 42 U.S.C. §§ 1396,
1396a(a)(13) & (a)(30)(A). MassHealth has opted to cover prescription drugs.
72. Providers participating in MassHealth submit claims for services rendered to Medicaid
recipients to MassHealth for payment.
73. MassHealth directly pays providers for reimbursable items and services, obtaining the
federal share of the payment from accounts that draw on the United States Treasury. See 42
C.F.R. §§ 430.0 - 430.30. At all relevant times, the federal share of MassHealth’s expenditures
has been 50%.

3. Providers’ compliance with the Federal AKS, Stark Statute, and
Massachusetts AKS are material to Medicare’s and MassHealth’s payment
decisions

74. To be eligible to participate in the Medicare program and be reimbursed for treatment
provided to Medicare beneficiaries, providers are required to enter into an agreement in which
the provider makes the following certification:

I agree to abide by the Medicare laws, regulations and program instructions that

apply to this supplier. The Medicare laws, regulations, and program instructions

are available through the Medicare contractor. J understand that payment of a

claim by Medicare is conditioned upon the claim and the underlying transaction
complying with such laws, regulations, and program instructions (including, but

20
Case 1:18-cv-12125-ADB Document1 Filed 10/11/18 Page 23 of 54

not limited to, the Federal anti-kickback statute and the Stark law), and on the
supplier’s compliance with all applicable conditions of participation in Medicare.

Medicare Enrollment Application (CMS-855B).
75. Providers who participate in MassHealth must enter into a provider contract with the
Commonwealth. By executing such contract, the provider agrees to, among other things,
“comply with all laws, rules, and regulations governing MassHealth.” 130 Mass. Code Regs.
450.223(C).
76. | MassHealth providers must affirmatively certify, as a condition of payment of the claims
submitted for reimbursement by MassHealth, compliance with applicable federal and state laws
and regulations, including the Federal AKS, Stark Statute, and Massachusetts AKS.
77.  Oneach Form CMS-1500 submitted to Medicare or Medicaid for payment for drugs and
services furnished to beneficiaries, a provider certifies, among things, that the claim “complies
with all applicable Medicare and/or Medicaid laws, regulations, and program instructions for
payment including but not limited to the Federal [AKS] and [Stark Statute]” and that “the
services on th[e] form were medically necessary”:

In submitting this claim for payment from federal funds, I certify that: 1) the

information on this form is true, accurate and complete; 2) I have familiarized

myself with all applicable laws, regulations, and program instructions, which are

available from the Medicare contractor; ... 4) this claim, whether submitted by

me or on my behalf by my designated billing company, complies with all

applicable Medicare and/or Medicaid laws, regulations, and program instructions

for payment including but not limited to the Federal anti-kickback statute and

Physician Self-Referral law (commonly known as Stark law); 5) the services on

this form were medically necessary and personally furnished by me or were

furnished incident to my professional service by my employee under my direct

supervision, except as otherwise expressly permitted by Medicare or TRICARE

78. | Oneach annual cost report (Form CMS-2552-10) submitted to CMS (via the

Medicare Administrative Contractor), a hospital’s administrator certifies that the services

21
Case 1:18-cv-12125-ADB Document1 Filed 10/11/18 Page 24 of 54

furnished to Medicare and Medicaid beneficiaries identified in the report were provided
in compliance with the laws and regulations governing the provision of health care
services:

MISREPRESENTATION OR FALSIFICATION OF ANY INFORMATION
CONTAINED IN THIS COST REPORT MAY BE PUNISHABLE BY
CRIMINAL, CIVIL AND ADMINISTRATIVE ACTION, FINE AND/OR
IMPRISONMENT UNDER FEDERAL LAW. FURTHERMORE, IF SERVICES
IDENTIFIED IN THIS REPORT WERE PROVIDED OR PROCURED
THROUGH THE PAYMENT DIRECTLY OR INDIRECTLY OF A
KICKBACK OR WERE OTHERWISE ILLEGAL, CRIMINAL, CIVIL AND
ADMINISTRATIVE ACTION, FINES AND/OR IMPRISONMENT MAY
RESULT.

CERTIFICATION BY OFFICER OR ADMINISTRATOR OF PROVIDER(S)

I HEREBY CERTIFY that I have read the above certification statement and that I
have examined the accompanying electronically filed or manually submitted cost
report and the Balance Sheet and Statement of Revenue and Expenses prepared by
(Provider Name(s) and Number(s))for the cost
reporting period beginning and ending and to
the best of my knowledge and belief, this report and statement are true, correct,
complete and prepared from the books and records of the provider in accordance
with applicable instructions, except as noted. I further certify that I am familiar
with the laws and regulations regarding the provision of health care services, and
that the services identified in this cost report were provided in compliance with
such laws and regulations.

 

79. Compliance with the Federal AKS, Stark Statute, and Massachusetts AKS are material
conditions of payment for Medicare and Medicaid claims. Claims for payment for services that
are tainted by illegal kickbacks are not authorized to be paid by Medicare and Medicaid and thus
constitute claims that are both legally and factually false.

80. | HHS has also published safe harbor regulations that define practices that are not subject
to prosecution or sanctions under the Federal AKS because such practices are unlikely to result

in fraud or abuse. See 42 C.F.R. §1001.952. However, only those arrangements that precisely

22
Case 1:18-cv-12125-ADB Document1 Filed 10/11/18 Page 25 of 54

meet all of the conditions set forth in a safe harbor are afforded safe harbor protection. None of
the practices at issue here meet these safe harbor regulations.

4. The Accountable Care Organization Programs
81. |Akey component of the Patient Protection and Affordable Care Act, Pub. L. No. 111-
148, enacted on March 23, 2010!, (“the Affordable Care Act”), is the Medicare Shared Savings
Program (“Shared Savings Program”). The Shared Savings Program is intended to encourage the
development of Accountable Care Organizations (“ACOs”) in Medicare. Its focus is on
improving the administration of health care under Medicare Parts A and B with three primary
aims: (1) better care for individuals, (2) better health for populations, and (3) lower growth in
Medicare Parts A and B expenditures.
82. | ACOs are comprised of doctors, hospitals, and other allied health care providers that
form networks that agree to share information, coordinate patient care, and avoid unnecessary
tests and procedures as to a defined group of Medicare Part A and Part B beneficiaries. ACO
participants generally focus on achieving quality benchmarks, promoting preventive care, and
managing patients with chronic illnesses. The use of electronic health records to facilitate
communication amongst providers and data integration and management is key.
83. The beneficiaries covered by an ACO are generally assigned on the basis of the primary
care physician (“PCP”) of the beneficiary. Medicare expressly provides that beneficiary
assignment to an ACO for purposes of determining the patients for whom that ACO is
accountable “in no way diminishes or restricts the rights of beneficiaries assigned to an ACO to

exercise free choice in determining where to receive health care services.” 42 C.F.R.

 

' Certain provisions of this legislation were amended by enactment of the Health Care
and Education Reconciliation Act of 2010 on March 30, 2010.

23
Case 1:18-cv-12125-ADB Document1 Filed 10/11/18 Page 26 of 54

§ 425.400(b). And each patient is free to have their patient data excluded for purposes of
determining an ACO’s quality metrics.

84. | ACOs are paid on the basis of a variety of reimbursement models depending on the type
of ACO and the payment options each ACO type offers. As to all ACO reimbursement
methodologies however, providers are financially incentivized to keep their patients healthy and
out of the hospital. In particular, as an incentive to ACOs that successfully meet quality and
savings requirements, Medicare can share a percentage of the savings with the ACO. ACOs only
share in savings, however, if they meet both the quality performance standards and generate
shareable savings.

85. The foundation of an ACO as configured under CMS regulations is generally each
participant’s PCP. He or she is ultimately the provider overseeing the participant’s care and
tracking the patient through the ACO system.

86. Since the passage of the Affordable Care Act, Medicare ACO options have expanded to
include the Pioneer ACO Model, the Medicare Shared Savings Plan (“MSSP”), and the Next-
Generation ACO, which allows for a higher level of risk, and a higher potential upside. As of
2017 there were approximately 525 Medicare ACOs serving over 10 million beneficiaries in the
United States.

87. Because ACOs are networks of physicians, hospitals, and other health care providers, and
because CMS reimburses them as an entity, ACOs are naturally interested in taking steps to
minimize “leakage,” i.e., the provision of medical care to ACO patients by out-of-network
providers. Such patient leakage results in a revenue loss to the ACO, since the patient in such
circumstances receives reimbursable treatment by an unaffiliated provider rather than from

within the ACO. It also complicates the group practice reporting process through which ACOs

24
Case 1:18-cv-12125-ADB Document1 Filed 10/11/18 Page 27 of 54

must submit data to CMS which CMS then utilizes to calculate multiple quality metrics used in
the determination of bonus payments to the ACO. See 42 C.F.R. § 425 Subpart F. Patient leakage
occurs for numerous reasons, including the referral of patients to out-of-network providers by in-
network providers. But ACOs’ interest in minimizing patient leakage does not negate or impact
in any manner the ACOs’ statutory prohibition from paying an in-network physician to reduce or
limit medically necessary services to its patients. See 42 U.S.C. § 1320a-7a. Similarly, ACOs are
prohibited from issuing payments to physicians to use a drug or device known to be clinically
less effective. See Final Waivers in Connection with the Shared Savings Program, 80 Fed. Reg.
66,730 (Oct. 29, 2015).
88. The quality measures that ACOs report and which CMS utilizes to calculate and assess
quality performance pertain to four domains including the patient/caregiver experience, care
coordination/patient safety, clinical care for an at-risk population (e.g., diabetes, hypertension,
ischemic vascular disease, and depression), and preventive health (e.g., colonoscopies, blood
pressure screenings, and weight screenings). Calculations are arrived at utilizing several types of
data, such as Medicare claims data, and, most significantly, ACOs’ self-reported data.
89. | As CMS observed in its comments to the Final Rule issued on November 2, 2011:

The purpose of the Shared Savings Program is to achieve savings through

improvements in the coordination and quality of care, and not through avoiding

certain beneficiaries or placing limits on beneficiary access to needed care.
Medicare Shared Savings Program: Accountable Care Organizations, 80 Fed. Reg. 67,805 (Nov.
2, 2011). All else being equal, the better the metrics an ACO reports to CMS, the larger the
potential savings it will be able to share in with CMS.
90. | Members of MassHealth’s ACOs receive primary care services from their selected or

assigned PCP. See 130 Mass. Code Regs. 508.006(B)(2). If the member requires other medical

25
Case 1:18-cv-12125-ADB Document1 Filed 10/11/18 Page 28 of 54

services (not including emergency services, behavioral health services, pregnancy services, or
family planning services), the member may be required obtain a referral for such services from
the PCP. See id. The primary care provider may refer the patient to a physician who participates
in the PCP’s ACO network or to another MassHealth’s broader physician network. See Steward
Health Choice Member Handbook 2018 (available at https://stewardhealthchoice.org/sites/
default/files/2018-02/2018%20Member%20Handbook_Steward%20Health%20Choice_1.pdf) at
6, 11.
91. Under Massachusetts law, MassHealth hospital patients have “the right to freedom of
choice in his selection of a facility, or a physician or health service mode, except in the case of
emergency medical treatment or as otherwise provided for by contract[.]” Mass. Gen. Laws ch.
111 § 70E.

V. FACTUAL ALLEGATIONS

A. The Genesis And Expansion Of Steward To The Largest Privately-Owned For-
Profit Hospital Operator In The United States

92. Steward Health Care System was created in 2010 when Cerberus bought the former
Caritas Christi network of Catholic hospitals and its affiliated entities. That same year, with
approval of the Massachusetts Attorney General and the Massachusetts Supreme Judicial Court,
as well as the Vatican, Cerberus turned the hospital chain from a nonprofit charity to a for-profit
business.

93. Steward went on to expand throughout eastern Massachusetts, acquiring Nashoba Valley
Medical Center (Ayer, Massachusetts), Merrimack Valley Hospital (Haverhill, Massachusetts),
Quincy Medical Center (Quincy, Massachusetts) and Morton Hospital (Taunton, Massachusetts).
94. In May 2017, Steward acquired a rehabilitation hospital as well as six more general

hospitals, including Sharon Regional Health System (Sharon, Pennsylvania), Easton Hospital

26
Case 1:18-cv-12125-ADB Document1 Filed 10/11/18 Page 29 of 54

(Easton, Pennsylvania), Wuesthoff Medical Center in Melbourne (Melbourne, Florida),
Wuesthoff Medical Center in Rockledge (Rockledge, Florida), Sebastian River Medical Center
(Sebastian, Florida), and Trumbull Memorial Hospital (Warren, Ohio).

95. In or about May 2017, Steward Health Care LLC also merged operations with IASIS
Healthcare LLC, adding hospitals in locations across Utah, Arizona, Colorado, Texas, Arkansas,
and Louisiana. This merger made Steward the largest private for-profit hospital operator in the
United States.

96. Cerberus continues to be the majority owner of SHCS.

97. | SHCS’s Board of Directors is comprised of a Chairman (SHCS’s CEO, Ralph de la
Torre, M.D.) and seven other Directors, five of which are executives or managers of Cerberus or
an affiliate of the investment company:

e Brett Ingersoll (Co-Head of Private Equity and member of the Investment Committee
at Cerberus)

e Lisa Ann Gray, Esq. (General Counsel of Cerberus Operations Advisory Company,
LLC and a member of its executive team)

e James T. Lenehan (Senior Operations advisor to Cerberus)

e Chan Galbato (Chief Executive Officer of Cerberus Operations and Advisory
Company, LLC)

e Michael K. Palmer (Senior Vice President in the Private Equity Group of Cerberus)
Thus, Cerberus controls the majority of the SHCS’s Board of Director seats and thus has control
over the operations of SHCS.
98. Inor about 2016, Steward undertook steps to financialize and diffuse responsibility among
its hospital operations. Toward this end, in a lease-buy back transaction, Steward sold the real
estate interests of its hospitals to Medical Properties Trust, Inc. (“MPT”) a publicly traded

company. As part of that transaction, a Cerberus affiliate agreed to invest $150 Million in MPT

27
Case 1:18-cv-12125-ADB Document1 Filed 10/11/18 Page 30 of 54

common stock. The agreement also included a right of first refusal for MPT to acquire additional
Steward hospitals. As a consequence of the transactions, Steward lost the real estate interests of its
hospitals and became obligated to pay large lease payments to its new landlord, MPT. In contrast,
Cerberus recovered all of the money it had originally invested. On top of that, Steward managers
received large stakes in the company.

99. CMS launched its Medicare Pioneer ACO program in January 2012, and SHCS signed
onto and adopted Medicare’s Pioneer ACO model in 2012 shortly after CMS launched the
program. Based upon its second year with the program, Steward proclaimed itself to have had
the best performance among Pioneer ACOs in Massachusetts and the second-best performance of
all Pioneer ACOs in the nation. Then, four years after first adopting the Medicare ACO model,
Steward leapt on board when CMS introduced its new Next Generation ACO model in 2016.
This new model set financial targets, furnished providers and beneficiaries’ greater opportunities
to coordinate care, and aimed to attain the highest quality standards of care. And Steward
promoted its ACO model to patients and prospective patients through an enthusiastic Internet
marketing campaign. Steward’s ACOs include among its beneficiaries many thousands of
individuals receiving traditional Part A and Part B Medicare.

100. In or around 2017, Steward joined MassHealth’s pilot Medicaid ACO program with the
stated aim to increase care management and care coordination for Medicaid patients.

101. Steward articulated on the Internet and in press releases the goals of the ACO models as
(1) improving the patient experience of care (including quality and satisfaction), (2) reducing the
per capita cost of health care, and (3) improving the health of its aligned population.

102. Rather than actually aiming for the goals of the Medicare and Medicaid ACO models,

Steward in fact corrupted the models and exploited the anticipated coordination of care as a

28
Case 1:18-cv-12125-ADB Document1 Filed 10/11/18 Page 31 of 54

means of trapping Medicare and Medicaid patients in its health care “system” to the detriment of
its patients and for its own financial benefit, as set forth more fully below.
103. The illegal policies, practices, and conduct alleged herein with respect to the Steward
hospitals and providers located in Massachusetts have been implemented and are occurring
across the Steward enterprise, including at the Sebastian River Medical Center located in
(Sebastian, Florida), Rockledge Regional Medical Center (Rockledge, Florida), Melbourne
Regional Medical Center (Melbourne, Florida), Trumbull Regional Medical Center (Warren, .
Ohio), Sharon Regional Medical Center (Sharon, Pennsylvania), and Easton Hospital (Easton,
Pennsylvania).
B. Steward’s Fraudulent Schemes That Result In The Submission Of False Claims
1. To fraudulently inflate profits and improve its ACO’s metrics, Steward
forces patients, which include Medicare Part A and Part B patients and
MassHealth patients, to receive their care from providers within Steward’s
ACO network
104. Since Cerberus acquired Steward in 2010 and converted it to a for-profit corporation, the
animating force behind Steward’s business plan has been rampant greed. Meanwhile, quality
patient care, and integrity in its dealings with patients and the government health care programs,
have become secondary considerations.
105. A hallmark of Medicare Part A and Part B and Medicaid is that these programs do not
impose limits on which health care provider a patient may utilize. The statutes and regulations
governing Medicare’s ACOs do not impinge on this freedom to choose in any way. Indeed,
providers employed by the ACO, or those having a contractual relationship with the ACO,
“remain free to make referrals without restriction or limitation if the beneficiary expresses a

preference for a different provider, practitioner or supplier; or the beneficiary’s insurer

determines the provider, practitioner, or supplier; or the referral [within the ACO] is not in the

29
Case 1:18-cv-12125-ADB Document1 Filed 10/11/18 Page 32 of 54

beneficiary’s best medical interests in the judgment of the referring party.” 42 C.F.R.

§ 425.304(c)(2). Similarly, provider choices that MassHealth beneficiaries have under the terms
of their health insurance plan cannot be overridden by Steward in order to corral more patients
into the Steward ACO’s network of providers.

106. Indeed, Steward is aware of this prohibition against impinging upon the freedom to
choose one’s doctors, hospitals and medical suppliers. Steward’s website makes the following
“promise” about its Next Generation ACO: “Your doctor’s participation in this Model does not
change anything about your Medicare benefits and it does not limit the doctors you can choose to
see. Every benefit you currently have under Medicare remains the same.” (Steward’s
website - hitps://www.steward.org/medicareACO/NGACO) (emphasis in original).

107. Nevertheless, in an effort to boost revenues, Steward routinely traps unsuspecting ACO
beneficiaries, and other patients, within Steward’s system in direct violation of 42 C.F.R.

§ 425.400, 42 C.F.R. § 425.304, Medicare Parts A and B’s requirements, and MassHealth’s
requirements. In so doing, Steward is denying patients a critical feature of traditional Medicare
and Medicaid, namely, the right to choose which doctors, hospitals and suppliers will provide
their care. Additionally, and again in direct violation of 42 C.F.R. § 425.400, 42 C.F.R.

§ 425.304, Medicare Parts A and B’s requirements, and MassHealth’s requirements, patients are
being denied the benefit of their own physician’s medical judgment, especially when that
physician has concluded that his/her patient is best served by being referred out of network for
treatment by another physician or another hospital.

108. Utilizing a variety of tactics, Steward routinely denies beneficiaries access to health care
outside of Steward’s ACO network. For instance, physicians within the SHCN are required to

prepare and submit out of network referral requests before a patient will be allowed to receive a

30
Case 1:18-cv-12125-ADB Document1 Filed 10/11/18 Page 33 of 54

referral to an out of network physician. Such referrals are ostensibly permitted under either one
of two circumstances: (1) when the patient has a pre-existing relationship with an out of network
physician, or (2) there are no “comparable” in-network physicians or services available.
However, Steward’s definition of “comparable” is so broad as to be functionally meaningless.
The reality is that out of network referral requests, no matter what the reason, are almost
universally denied.

109. For example, after acquiring Caritas Christi in 2010, Steward stopped approving Dr.
Zappala’s referrals, including for patients covered by traditional Part A and Part B Medicare, of
patients with kidney tumors to tertiary specialty institutions such as the Lahey Clinic and the -
Dana Farber Cancer Center to have partial kidney resections performed in lieu of removal of the
entire kidney. This innovative technique was undeniably in the patients’ best interests.
Nevertheless, when Dr. Zappala made these referrals over Steward’s objections, Dr. Mark
Girard, president of SHCN and other Steward entities at various times, responded by confronting
Dr. Zappala directly. Even after Dr. Zappala laid out for him the multiple benefits of this
treatment technique and explained that no one affiliated at Steward could perform it, Dr. Girard
nonetheless instructed Dr. Zappala to keep these patients in the Steward ACO network, even if it
required removing their entire kidney. He warned Dr. Zappala that he would be held accountable
and financially penalized if he continued to make these out of network referrals.

110. Dr. Zappala also was reprimanded when he referred certain prostate cancer patients to the
Lahey Clinic in Burlington, Massachusetts. Lahey Clinic was the only hospital in New England
at all times relevant to this allegation offering high dose, transperineal radiation iridium therapy
to treat select patients with high grade prostate cancer. This innovative treatment not only

yielded materially better results — patients who received it had a lower rate of reoccurrence — but

31
Case 1:18-cv-12125-ADB Document1 Filed 10/11/18 Page 34 of 54

also avoided many of the significant side effects of other cancer treatments because it better
focused the radiation on the prostate. Nevertheless, it was not available at Holy Family Hospital.
Representatives of Steward and Holy Family Hospital, including Dr. Chastain, admonished Dr.
Zappala for referring patients to the Lahey Clinic to receive the high dose radiation iridium
implants. And even though at least one of Holy Family Hospital/Steward’s representatives (Dr.
Santosh Shetty) agreed with Dr. Zappala regarding the benefits of high dose radiation iridium
implants, none of them were willing to approve or otherwise condone this leakage. Instead,
patients who were eligible for this superior treatment offered only at the Lahey Clinic, including
patients covered by traditional Part A and Part B Medicare, were required to be treated with
inferior methods at Holy Family Hospital, a requirement which was clearly not in the interests of
administering quality medical care.

111. Steward prevented doctors from gaining access to robot assisted surgery when the
Steward hospital in question did not have such equipment, even though it is better for the patient
in multiple respects. Dr. Zappala believed it was in the best interests for certain of his patients at
Holy Family Hospital to have robot assisted surgery. Holy Family Hospital, however, did not
have the necessary robotic equipment. Therefore, Dr. Zappala made numerous requests to the
president and CEO of Holy Family Hospital and the chief of the medical staff at Holy Family
Hospital to either purchase this equipment or permit his patients to receive their surgical
procedures out of network. These requests were denied during a dinner meeting with Holy
Family Hospital’s president, Lester Schindel, and medical staff president, Vartan Yeghiazarians,
M.D. He then appealed to Dr. Girard. In response, Steward not only refused to permit Dr.
Zappala to operate on his own patients out of network, it also withheld his annual bonus in 2014

(approximately $25,000) and threatened to expel him from the SHCN. Dr. Zappala believes his

32
Case 1:18-cv-12125-ADB Document1 Filed 10/11/18 Page 35 of 54

bonus was withheld at least in part because of his persistent efforts to exercise his best medical
judgment and refer his patients out of network to undergo robot assisted surgery.

112. Throughout 2014 and 2015, Dr. Zappala requested that Steward purchase the equipment
that would enable minimally invasive saline bipolar transurethral prostatectomies to be
performed on an outpatient basis (versus a two-night stay without this equipment) and without
the need for a blood transfusion. Aside from the shorter stay (and decreased cost) the benefit also
included decreased morbidity and mortality. Not only did Steward reject Dr. Zappala’s request,
Dr. Peter Rees, a Steward Medical Group physician, thereafter began calling Dr. Zappala’s
patients directly and falsely telling them that they must get their prostate surgeries performed at
Holy Family Hospital and Holy Family Hospital only. On information and belief, during this
same time period, Dr. Rees was making similar calls to the patients of other doctors who sought
to refer their patients out of network in order to force such patients to stay with Steward
physicians and facilities.

113. Defendants unlawfully reassign Medicare patients to in-network Steward physicians. For
example, Steward agents call Medicare patients and falsely tell them that certain disfavored
physicians cannot accept Medicare patients or that surgery must be performed at a Steward
facility. Likewise, when a PCP within Steward announces that he or she is leaving, Steward
reassigns the patient to another Steward PCP without obtaining the patient’s informed consent.
114. Steward imposes significant financial penalties and applies psychological pressure on
physicians to ensure that their patients receive all care from providers within Steward’s ACO
network. For example, physicians whose leakage rates are unsatisfactory are publicly shamed
during physician group, or POD, meetings where their leakage rates are displayed on PowerPoint

slides for all attendees to compare. Physicians are berated and even face termination if their

33
Case 1:18-cv-12125-ADB Document1 Filed 10/11/18 Page 36 of 54

leakage rates do not improve. Comparative leakage reports are also distributed. These
comparative reports engender not just competition but hostility, because individual physician
bonuses depend on the performance of their POD collectively.

115. The financial penalties that Steward imposes on physicians who refer out of network are
significant and intended to discourage such referrals. A certain percentage of compensation owed
to the physician is withheld for each pay period. Steward only returns the amounts withheld if
certain performance criteria are satisfied, one of which is the rate of out of network leakage.

2. Steward induced referrals to providers within its ACO network in violation
of the Federal AKS, Stark Statute, and Massachusetts AKS, thereby causing
the submission of false and fraudulent claims

116. Within Steward, specialists received monetary inducements and other things of value to
keep patients within Steward’s ACO network. According to Dr. Lanna, this practice is generally
known by the physicians and widespread within Steward’s ACO network.

117. Sham “Call Coverage” Contracts: Sham contracts are utilized to provide kickbacks to
urologists to induce them to refer their cancer patients to Steward’s providers. In late 2016,
several weeks before Mr. Wojcik was notified that he was going to be terminated in order to save
costs, he was informed by Good Samaritan Medical Center’s president, John Jurezyk, that he
was responsible for approving the timesheets submitted by a urologist for payment of $180,000
under a contract entered into between Good Samaritan Medical Center and the urology group. It
was Mr. Wojcik’s understanding that the contract between the two entities had been in place for
several years. However, it was not until he received this notification along with the contract and
time sheet via email that he became privy to the details of the arrangement. Upon examining the
contract, Mr. Wojcik discovered that it referenced Good Samaritan Medical Center as a “Prostate

Cancer Center of Excellence” and various responsibilities of the urologist under the contract.

34
Case 1:18-cv-12125-ADB Document1 Filed 10/11/18 Page 37 of 54

Because of the duties of Mr. Wojcik’s position he knew that the urologist had not performed the
responsibilities listed in the contract. He was unaware of such a “Center” and had never heard
that designation used before in reference to his department. The contract also contained a pro
forma which showed the direct impact on patient volume and revenues that cancer referrals from
the urology group would have on Good Samaritan Medical Center.
118. After reviewing the contract and checking Steward’s policy, which confirmed that only
the President could approve payments to physicians, Mr. Wojcik went to his direct supervisor,
the Vice President of Patient Care and Chief Nursing Officer, Lisa Zani, and explained that the
services described as being provided by the urologists under the contract would be very useful
but that they were not actually being furnished. Moreover, the timesheet showed that just one
hour per day was spent on the contracted for activities. Yet Good Samaritan Medical Center was
paying $15,000 per month ($180,000 per year) to the urology group, an amount which bore no
rational relationship to: (1) the minimal amount of work the timesheet showed being done, and
(2) the fact that, to the best of Mr. Wojcik’s knowledge, none of the services described in the

_ contract were even performed. Mr. Wojcik told his supervisor he would not sign the timesheet
because, under Steward’s policy, only the President could sign it and, in any event, the services
had not been provided.
119. In response, Ms. Zani took the contract and told Mr. Wojcik that she would put the
contract on the pile of other similar contracts the current president, John Jurczyk, had inherited
from the previous president. She said the contract was actually for “call coverage” (a service not
even mentioned in the contract and one for which urology groups do not receive separate
compensation). At the vice president’s request, Mr. Wojcik then reviewed the contract with the

CFO, Victoria Lobban. In the course of his review, the CFO showed Mr. Wojcik a binder with

35
Case 1:18-cv-12125-ADB Document1 Filed 10/11/18 Page 38 of 54

what she described as similar contracts and told Mr. Wojcik that the practice of entering into
these contracts is widespread at Steward. Mr. Wojcik believes he was terminated, at least in part,
because he voiced his belief to his vice president and to the CFO that this contract and the
“Prostate Cancer Center of Excellence” appeared to be a sham.

120. Leasing Space In Exchange For Patient Referrals: Steward incentivizes physicians to
refer patients to Steward in other ways. Vartan Yeghiazarians, M.D., the president of the medical
staff at Holy Family Hospital and physician manager of the ACO, has leased to Steward
approximately 50% of an office building located on Merrimack Street in Methuen,
Massachusetts, that he owns. Steward uses the space for a Steward “minute clinic” and a
marketing office. In exchange, and upon information and belief, Dr. Yeghiazarians only and
exclusively refers his patients to Steward physicians and admits them to Steward facilities.

121. Likewise, Essex Orthopedics and its owners, Thomas Hoerner, M.D., and Eric Arvidson,
M.D., lease approximately 8,000 square feet of a facility in Andover, Massachusetts, to a
Steward primary care group. In exchange, Essex Orthopedics exclusively performs surgeries at
Steward-owned or Steward-affiliated facilities such as Holy Family Hospital, Andover Surgery
Center, and Orchard Surgery Center. Also as part of the quid pro quo arrangement, Steward
supplies Essex Orthopedics with an MRI machine for no charge. Steward also has provided a
MRI machine to Northeast Orthopedics in North Andover, Massachusetts, free of charge.

3. Steward prohibits physicians from exercising their best medical judgment
for their patients and has undermined the doctor-patient relationship,
thereby causing the submission of false claims

122. Steward’s treatment of its patients has been entirely corrupted by its “keep the patient in
network no matter what” policies. While these policies have enabled Steward to inflate its ACO

metrics, and more generally its revenues, they have simultaneously undermined the ability of its

36
Case 1:18-cv-12125-ADB Document1 Filed 10/11/18 Page 39 of 54

physicians to exercise their best medical judgment in treating their patients. Time and again
Steward has seen to it that physicians’ medical judgment and patients’ wishes are ignored and
overruled. Referrals to specialists have been categorically denied, requests for the best modes of
treatment for life threatening illnesses and chronic conditions have been overruled, and
physicians are constantly subjected to the threat of financial punishment, psychological pressure,
and termination if they do not fall into line and comply with Steward’s policies.

4. Steward’s providers routinely over prescribe narcotics and other controlled
substances to patients, thereby causing the submission of false claims

123. Soon after her arrival at Steward, Dr. Lanna observed that elderly patients under the care
of other physicians were routinely being prescribed excessive amounts of narcotics and other
controlled substances, such as benzodiazepines and Adderall, often in combination. Such patients
landed in emergency rooms with syncope as a consequence. One patient went to the emergency
room in early 2017 with syncope after multiple fainting spells. Further, appropriate testing had
not been undertaken to monitor the patients and confirm the medical necessity of continuing the
prescribed drug regimens. Physicians such as Dr. Lanna, who were not the patients’ treating
physician, were routinely being asked to authorize telephone refills for patients when there was
very little clinical information about the patient and the treating physician was not present. Also,
when Dr. Lanna arrived at Steward, she discovered that her office had hundreds of patients who
had been prescribed large quantities of opioid painkillers for extended periods but were not
receiving physical therapy and had no pain management referrals. In March 2015, Dr. Lanna
asked the president of Steward Medical Group, George Clairmont, M.D., via email what
Steward’s policy was regarding prescribing drug refills, especially with respect to narcotics,

when the doctor had not seen the patient. Dr. Clairmont responded via email that Steward

37
Case 1:18-cv-12125-ADB Document1 Filed 10/11/18 Page 40 of 54

Medical Group had no policy. Tellingly, he added that he would “... NOT engage in such a
conversation on email.” (emphasis in original).

124. Steward directs providers to prescribe refills of pain medicines for patients who complain
about experiencing discomfort or chronic pain in order to ensure that the patients do not switch
to an out of network provider and do not report having a poor treatment experience that would
negatively impact Steward’s patient satisfaction score.

125. Asan example of this unlawful practice, Dr. Lanna observed that a 74-year-old patient
had been prescribed a drug cocktail of Valium, Adderall, and Oxycodone but had not been
examined by a physician in over seven months. Further, the underlying cause of the patient’s
chronic knee pain had never been addressed.

126. In another case, an 80-year-old patient had been prescribed Oxycodone three times a day
for several years. The patient, however, was not receiving the testing required for monitoring
treatment with opioids, especially at such a high dose.

5. Steward engaged in a pervasive pattern of failure to provide adequate
patient care, thereby causing the submission of false claims for payment

127. Upon joining Steward, it quickly became evident to Dr. Lanna that in multiple respects
that the medical care Steward patients were receiving was grossly inadequate. In an effort to
promote revenue generation and reduce costs within the Steward system, the organization had
largely abandoned providing quality patient care as a priority. For example:

(a) In many instances, patients were receiving narcotics, sometimes for years, despite
the lack of any medical necessity, despite the risk of patient harm, and without any ongoing
monitoring of the patient by his/her physician. When Dr. Lanna raised this troubling issue with
Steward Medical Group’s president, Dr. Clairmont, as well as George Gales, M.D., she was met

with anger and opposition. Dr. Gales sent a letter to the providers and staff in Dr. Lanna’s POD

38
Case 1:18-cv-12125-ADB Document1 Filed 10/11/18 Page 41 of 54

in which he criticized Dr. Lanna for objecting to prescribing narcotics to patients and said she
was not being a “team player” and is a “doctor who doesn’t want to share the work.” What’s
more, Dr. Gales misled the staff by advising them that, in raising concerns about Steward’s
practice of over-prescribing narcotics without monitoring patients or reassessing whether
continued use of the drugs was medically reasonable and necessary, Dr. Lanna was advocating
“throwing patients into sudden withdrawal,” which would cause the patients “irreparable harm.”
Dr. Lanna perceived that if she continued to raise objections about the manner in which narcotics
were being dispensed, her job would be in jeopardy.

(b) Dr. Lanna reviewed patient charts and found that few, if any, quality measures
had been satisfied. Patients were grossly deficient in vaccinations, hypertension management,
cholesterol management, and diabetes management, issues comprising the ACO quality metrics.
Most obese patients had never had a hemoglobin Alc test to measure their blood glucose level in
order to determine if they were diabetic. More generally, patients who fit the typical profile of a
diabetic were not given tests to confirm the presence of the condition by their physician in order
to avoid the financial penalties that Steward imposed upon physicians when their diabetic
patients did not satisfy Steward’s internal health metrics or, in other instances, to avoid the high
costs associated with treating such a patient when that patient was covered by a capitation-type
insurance plan.

(c) More disturbing, Dr. Lanna discovered that numerous patients had cancers that
were not being treated.

(d) Dr. Lanna detected a pattern in which patients would remain within the Steward
system for months or years, coming in for yearly physicals, and getting billed for them but not

receiving the usual and customary care associated with a physical exam. This resulted in patients

39
Case 1:18-cv-12125-ADB Document1 Filed 10/11/18 Page 42 of 54

costing less in the short term, but this is because the treatment of evident health problems was
nonexistent or inadequate. When a problem worsened to the point at which Steward no longer
wanted to care for patients (presumably either because the disease was too advanced for them to
successfully treat it or too expensive), to avoid negatively impacting its quality metrics Steward
referred the patients to hospitals outside of its network, such as Massachusetts General Hospital
or Brigham and Women’s Hospital in Boston.

(e) Dr. Lanna witnessed Steward providers tell patients they were doing great when
their lab results showed clearly that they were at risk of heart attack and stroke if not managed
properly. Instead of encouraging patients to get their vaccines, patients were often simply asked
if they wanted a flu shot, and if they said no, providers quickly checked the box that the patient
refused. This was true for all vaccinations. There were no efforts made to encourage patients to
accept the vaccine with appropriate education.

(f) Some patients had abnormal thyroid levels for years that Steward providers did
not bother to recheck.

6. Steward routinely falsified clinical data in patients’ files, thereby causing the
submission of false claims for payment

128. Dr. Lanna observed that Steward physicians were directed to alter blood pressure
readings to be consistent with the parameters set internally by Steward and integrated into ACO
metrics. Dr. Lanna witnessed instances in which providers falsely recorded patients’ blood
pressure in order to place it within the healthy range. Likewise, blood pressures were checked
with very inexpensive stethoscopes and automated machines, known to be far more accurate,
were missing. Patients with high blood pressure were repeatedly and falsely diagnosed as having
“white coat hypertension” meaning they only had high blood pressure when in the doctor’s

office. In reality no one performed due diligence to make sure that the diagnosis was correct. In

40
Case 1:18-cv-12125-ADB Document1 Filed 10/11/18 Page 43 of 54

fact, these patients were likely to be suffering cumulative damage from diabetes, hypertension,
and high cholesterol, as was predictable from their age, family history, and obesity, yet none of
these illnesses were being managed. Steward regularly used substandard equipment in measuring
blood pressures, knowing full well that this would prevent the diagnosis of hypertension from
accurately being made. If they did not make the diagnosis, they did not have to spend the money
treating the patient. Less money spent made them falsely appear efficient to CMS. It also
increased their profits in the ACO patients, for whom they were getting paid $130 per member
per month. If they did not diagnose them, they did not have to spend money treating them.

129. Likewise, sometimes physicians with diabetic patients did not conduct hemoglobin Alc
tests (which would show average blood sugar level for the past two to three months) in order to
avoid flagging a problem with the patients’ blood sugar.

130. Ona regular basis, at least weekly, nurses referred to as “chart reviewers” reviewed
Steward’s patients’ medical charts and directed providers to up-code entries in patients’ charts to
reflect services for which payors, including the government health care programs, pay a higher
reimbursement amount.

131. Furthermore, the ancillary staff would recommend Steward home care and a variety of
outpatient Steward services to patients without the invitation, request, or the written consent of
the admitting physician.

132. Dr. Zappala observed that physicians were routinely instructed by Steward health
personnel to switch patients from observation status to inpatient status in order to increase the
reimbursement amount.

133. Likewise, Dr. Zappala observed that Steward urged physicians to add medical issues,

such as pain, dehydration, or a variety of unusual constitutional symptoms to patients’ charts,

4]
Case 1:18-cv-12125-ADB Document1 Filed 10/11/18 Page 44 of 54

even when the treating physicians did not believe it was warranted, in order to increase the
reimbursement amounts.

7. Steward reported inaccurate data to CMS to obtain inflated Shared Savings
Program payments

134. For each ACO, CMS and MassHealth have utilized: (1) data that Steward submitted
directly and expressly as part of the ACO performance assessment process; (2) claims data
Steward submitted; and (3) patient satisfaction information from beneficiaries within their
respective ACO to calculate their ACO performance metrics scores and, ultimately, the periodic
payment amount to which each ACO was entitled. Because Defendants have so corrupted the
reliability and integrity of such data (by virtue of the unlawful conduct described herein),
Steward’s ACO performance metrics scores were and continue to be falsely inflated as are the
ultimate payment amounts to which each ACO has been entitled.

8. Steward’s ACOs did not satisfy the statutory and regulatory prerequisites;
Steward’s misrepresentation of this material fact caused the submission of
false claims

135. Steward’s ACOs are the commerstone of its business model and are showcased on the
Steward website and elsewhere to potential beneficiaries. However, these ACOs, as described
above, are in truth engaged in unlawful fraudulent acts, violating ACO requirements in many
respects, do not qualify for continued participation as an ACO, and would have been terminated
by CMS and MassHealth had they been made aware of this fact. Defendants’ failure to adhere to
ACO guidelines, and their other unlawful activity, are material facts that have been concealed

from CMS and MassHealth and which give rise to Defendants’ submission of false claims for

payment.

42
Case 1:18-cv-12125-ADB Document1 Filed 10/11/18 Page 45 of 54

VI. COUNTS
Count I

Federal False Claims Act

31 U.S.C. § 3729(a)(1)(A)
136. This is a claim for treble damages and civil penalties against Defendants under the
Federal FCA, 31 U.S.C. § 3729(a)(1)(A), for knowingly presenting, or causing to be presented,
false or fraudulent claims for payment or approval to the United States and/or, pursuant to 31
U.S.C. § 3729(b)(2)(A)(ii), to MassHealth.
137. Relators reallege and incorporate each allegation in each of the preceding paragraphs as if
fully set forth herein and further allege as follows:
138. Defendants have violated 31 U.S.C. § 3729(a)(1)(A) by engaging in the following
fraudulent schemes, among others, that are alleged herein:

(a) knowingly presenting or causing to be presented false or fraudulent claims to the
government health care programs for payment for health care services and/or items that were:
e the result of Steward’s illegal referral policies;

e the result of Steward’s practice of depriving patients the right to receive
services from the provider of their choice;

e referrals resulting from and induced by compensation arrangements that
violate the Stark Statute, Federal AKS, and/or Massachusetts AKS; and

e grossly below accepted medical standards rendering such services essentially
worthless.

(b) knowingly presenting or causing to be presented false or fraudulent claims to the
government health care programs for payment for medically unreasonable and unnecessary and

improperly prescribed narcotics;

43
Case 1:18-cv-12125-ADB Document1 Filed 10/11/18 Page 46 of 54

(c) knowingly presenting or causing to be presented claims to the government health
care programs for services at inpatient payment status when in fact the correct payment status
was outpatient;

(d) knowingly presenting or causing to be presented claims to the government health
care programs for services that had been up-coded or made to appear more complex than they
truly were;

(e) knowingly presenting or causing to be presented claims to the government health
care programs for artificially inflated bonus or shared savings payments that were based upon
false quality of care data; and

(f) knowingly presenting or causing to be presented claims to the government health
care programs in which Steward falsely certified compliance with the prerequisites for
participation in the Medicare and MassHealth ACO programs and conditions of payment under
the ACO programs.

139. Defendants also violated 31 U.S.C. § 3729(a)(1)(A) because as part of the alleged
fraudulent schemes, Defendants knowingly caused false or fraudulent claims to be presented to
MassHealth for reimbursement for health care services and items furnished to beneficiaries of
MassHealth. Defendants thereby also caused MassHealth to submit false claims to the United
States for reimbursement of Medicaid expenditures in violation of 31 U.S.C. § 3729(a)(1)(A).
Defendants likewise violated 31 U.S.C. § 3729(a)(1)(A) because through these acts they
knowingly presented or caused to be presented, under 31 U.S.C. § 3729(b)(2)(A)(ii), false or
fraudulent claims to MassHealth (a grantee and/or recipient of United States funds) for

reimbursement for services and items furnished to MassHealth beneficiaries.

44
Case 1:18-cv-12125-ADB Document1 Filed 10/11/18 Page 47 of 54

140. The United States, unaware of the foregoing circumstances and conduct, and in reliance
on the truth and accuracy of the claims for payment, paid or authorized payment of those claims
and has been damaged in an amount to be proven at trial.
Count II

Federal False Claims Act

31 U.S.C. § 3729(a)(1)(B)
141. This is a claim for treble damages and civil penalties against Defendants under the
Federal FCA, 31 U.S.C. § 3729(a)(1)(B), for knowingly making, using, or causing to be made or
used, a false record or statement material to false or fraudulent claims paid or approved by the
United States and/or, pursuant to 31 U.S.C. § 3729(b)(2)(A)(ii), to MassHealth.
142. Relators reallege and incorporate each allegation in each of the preceding paragraphs as if
fully set forth herein and further allege as follows:
143. Defendants have violated 31 U.S.C. § 3729(a)(1)(B) by knowingly making, using, or
causing to be made or used, false records or statements material to claims for reimbursement
paid by the government health care programs for, among other things, health care services and
items that were the result of Steward’s illegal referral policies; health care services and items that
were referrals resulting from and induced by compensation arrangements that violate the Stark
Statute, Federal AKS, and/or Massachusetts AKS; health care services that were grossly below
accepted medical standards rendering such services essentially worthless; unnecessary and
improperly prescribed narcotics; and artificially inflated bonus or shared savings payments,
including, but not limited to:

(a) false patient referrals;

(b) false patient notes, orders, and prescriptions;
(c) false annual cost reports; and

(d) — false quality of care reports.

45
Case 1:18-cv-12125-ADB Document1 Filed 10/11/18 Page 48 of 54

144. Defendants also violated 31 U.S.C. § 3729(a)(1)(B) because as part of the alleged
fraudulent schemes Defendants knowingly made, used, or caused to be made or used, a false
record or statement material to false or fraudulent claims paid or approved by MassHealth.
Defendants thereby also caused MassHealth to make or use false records or statements material
to false or fraudulent claims paid by the United States for reimbursement of Medicaid
expenditures in violation of 31 U.S.C. § 3729(a)(1)(B). Defendants likewise violated 31 U.S.C. §
3729(a)(1)(B) because through these acts they knowingly presented or caused to be presented,
under 31 U.S.C. § 3729(b)(2)(A)(ii), false or fraudulent claims to MassHealth (a grantee and/or
recipient of United States funds) for reimbursement for services and items furnished to
MassHealth beneficiaries.
145. The United States, unaware of the foregoing circumstances and conduct, and in reliance
on the truth and accuracy of the claims for payment, paid or authorized payment of those claims
and has been damaged in an amount to be proven at trial.
Count IH
Federal False Claims Act Violations
31 U.S.C. § 3729(a)(1)(C)
146. This is a claim for treble damages and civil penalties against Defendants under the
Federal FCA, 31 U.S.C. § 3729(a)(1)(C), for conspiring to commit violations of 31 U.S.C. §§
3729(a)(1)(A), (B), & (G).
147. Relators reallege and incorporate each allegation in each of the preceding paragraphs as if
fully set forth herein and further allege as follows:
148. In violation of 31 U.S.C. § 3729(a)(1)(C), Defendants conspired with each other to

commit the alleged violations of 31 U.S.C. §§ 3729(a)(1)(A), (B), and (G).

46
Case 1:18-cv-12125-ADB Document1 Filed 10/11/18 Page 49 of 54

149. The United States, unaware of the foregoing circumstances and conduct, and in reliance
on the truth and accuracy of the claims for payment, paid or authorized payment of those claims
and has been damaged in an amount to be proven at trial.
Count IV
Federal False Claims Act
31 U.S.C. § 3729(a)(1)(G)
150. This is a claim for treble damages and civil penalties against Defendants under the
Federal FCA, 31 U.S.C. § 3729(a)(1)(G), for knowingly making, using, or causing to be made or
used, a false record or statement material to an obligation to pay or transmit money or property to
the United States, or knowingly concealing or knowingly and improperly avoiding or decreasing
an obligation to pay or transmit money or property to the United States and states.
151. Relators reallege and incorporate each allegation in each of the preceding paragraphs as if
fully set forth herein and further allege as follows:
152. Defendants knowingly made, used, and caused to be made and used, false records or
statements to conceal, avoid, or decrease obligations to pay or transmit money or property to the
government. Defendants were aware of their obligation under 31 U.S.C. § 3729(a)(1)(G) to
repay to the government health care programs the payments that they received as result of the
fraudulent schemes alleged herein.
Count V
Massachusetts False Claims Act
Mass. Laws. ch. 12, § 5B(a)(1)

153. Relators reallege and incorporate each allegation in each of the preceding paragraphs as if

fully set forth herein and further allege as follows:

47
Case 1:18-cv-12125-ADB Document1 Filed 10/11/18 Page 50 of 54

154. By virtue of the acts described above, Defendants “[k]nowingly present[ed], or cause[d]
to be presented, a false or fraudulent claim for payment or approval” in violation of Mass. Laws.
ch. 12, § 5B(a)(1).
155. The Commonwealth of Massachusetts, unaware of the falsity of the records, statements
and claims made, used, presented or caused to be made, used or presented by Defendants, paid
and continues to pay the claims that would not be paid but for Defendants’ acts and conduct
alleged herein.
156. By reason of Defendants’ acts, the Commonwealth of Massachusetts has been damaged,
and continues to be damaged, in a substantial amount to be determined at trial.
Count VI
Massachusetts False Claims Act
Mass. Laws. ch. 12, § 5B(a)(2)
157. Relators reallege and incorporate each allegation in each of the preceding paragraphs as if
fully set forth herein and further allege as follows:
158. By virtue of the acts described above, Defendants “[k]nowingly ma[de], use[d] or
cause[d] to be made or used a false record or statement material to a false or fraudulent claim” in
violation of Mass. Laws. ch. 12, § 5B(a)}{2).
159. The Commonwealth of Massachusetts, unaware of the falsity of the records, statements
and claims made, used, presented or caused to be made, used or presented by Defendants, paid
and continues to pay the claims that would not be paid but for Defendants’ acts and conduct
alleged herein.
160. By reason of Defendants’ acts, the Commonwealth of Massachusetts has been damaged,

and continues to be damaged, in a substantial amount to be determined at trial.

48
Case 1:18-cv-12125-ADB Document1 Filed 10/11/18 Page 51 of 54

Count VII
Massachusetts False Claims Act
Mass. Laws. ch. 12, § 5B(a)(3)
161. Relators reallege and incorporate each allegation in each of the preceding paragraphs as if
fully set forth herein and further allege as follows:
162. By virtue of the acts described above, Defendants “conspire[d] to commit a violation of
{Mass. Laws. ch. 12, §§ 5B(a)(1), (2), or (9)]” in violation of Mass. Laws. ch. 12, § 5B(a)(3).
163. By reason of Defendants’ acts, the Commonwealth of Massachusetts has been damaged,
and continues to be damaged, in a substantial amount to be determined at trial.
Count VIII
Massachusetts False Claims Act
Mass. Laws. ch. 12, § 5B(a)(4)
164. Relators reallege and incorporate each allegation in each of the preceding paragraphs as if
fully set forth herein and further allege as follows:
165. By virtue of the acts described above, Defendants “knowingly present[ed], or cause[d] to
be presented, a claim that-includes items or services resulting from a violation of [the Federal
AKS or Massachusetts AKS]” in violation of Mass. Laws. ch. 12, § 5B(a)(4).
166. By reason of Defendants’ acts, the Commonwealth of Massachusetts has been damaged,
and continues to be damaged, in a substantial amount to be determined at trial.
Count IX
Massachusetts False Claims Act
Mass. Laws. ch. 12, § 5B(a)(10)
167. Relators reallege and incorporate each allegation in each of the preceding paragraphs as if
fully set forth herein and further allege as follows:

168. By virtue of the acts described above, Defendants are “beneficiar[ies] of ... inadvertent

submission{s] of a false claim[s] to the commonwealth or a political subdivision thereof, or [are]

49
Case 1:18-cv-12125-ADB Document1 Filed 10/11/18 Page 52 of 54

... beneficiar[ies] of ... overpayment{s] from the commonwealth or a political subdivision
thereof, and who subsequently discover[ed] the falsity of the claim[s] or the receipt of
overpayment([s] and fail[ed] to disclose the false claim[s] or receipt of overpayment(s] to the
commonwealth or a political subdivision by the later of: (i) the date which is 60 days after the
date on which the false claim or receipt of overpayment was identified; or (i1) the date any
corresponding cost report is due” in violation of Mass. Laws. ch. 12, § 5B(a)(10).
169. The Commonwealth of Massachusetts, unaware of the falsity of the records, statements
and claims made, used, presented or caused to be made, used or presented by Defendants, paid
and continues to pay the claims that would not be paid but for Defendants’ acts and conduct
alleged herein.
170. By reason of Defendants’ acts, the Commonwealth of Massachusetts has been damaged,
and continues to be damaged, in a substantial amount to be determined at trial.
171. Pursuant to Mass. Laws. ch. 12, § 5B(a), the Commonwealth of Massachusetts is entitled
to three times the amount of actual damages plus a penalty of $5,500 to $21,563 per violation.
PRAYER FOR RELIEF

WHEREFORE, Relators demand that judgment be entered in favor of the United States
and the Commonwealth of Massachusetts and against Steward and Cerberus for the maximum
amount of damages and such other relief as the Court may deem appropriate on each Count. This
includes, with respect to the Federal FCA, three times the amount of damages to the United
States plus civil penalties of no more than $11,000 and no less than $5,500 for each false claim
submitted on or before November 2, 2015, and civil penalties of no more than $21,916 and no
less than $10,957 for each false claim submitted between November 3, 2015 and January

29,2018, and civil penalties of $11,181 to $22,363 for penalties assessed after January 29, 2018,

50
Case 1:18-cv-12125-ADB Document1 Filed 10/11/18 Page 53 of 54

and any other recoveries or relief provided for under the Federal FCA. This request also
includes, with respect to the Massachusetts FCA, the maximum damages, the maximum fines or
penalties, and any other recoveries or relief provided for or permitted by those state statutes.

Further, Relators request that they receive the maximum amount permitted by law from
the proceeds or settlement of this action as well as from any alternative remedies collected by the
United States and the Commonwealth of Massachusetts, plus reasonable expenses necessarily
incurred, and reasonable attorneys’ fees and costs. Relators request that their award be based
upon the total value recovered, both tangible and intangible, including any amounts received
from individuals or entities who are not parties to this action.

DEMAND FOR JURY TRIAL

A jury trial is demanded in this case.

DATED: October 10, 2018 Respectfully submitted,

ARROWOOD LLP
Dicer ¥ Quem)

LisaXS. Arrowood (BBO No. 022330)
Sarah E. A. Sousa (BBO No. 691089)
10 Post Office Square

7th Floor South

Boston, MA 02109

(617) 849-6200

COHEN MILSTEIN SELLERS & TOLL PLLC
Jeanne A. Markey

Gary L. Azorsky

Casey M. Preston

1717 Arch Street, Suite 3610

Philadelphia, PA 19103

(267) 479-5700

Counsel for the Relators

51
Case 1:18-cv-12125-ADB Document1 Filed 10/11/18 Page 54 of 54

CERTIFICATE OF SERVICE

I hereby certify that I will cause a copy of the above Complaint to be served on the following
counsel by certified mail, return receipt requested:

The Honorable Jeff Sessions
Attorney General of the United States
U.S. Department of Justice
950 Pennsylvania Avenue, NW
Washington, D.C. 20530-0001

The Honorable Andrew E. Lelling
Acting United States Attorney
District of Massachusetts
John Joseph Moakley
United States Federal Courthouse
1 Courthouse Way, Suite 9200
Boston, MA 02210

The Honorable Maura Healey
Attorney General of Massachusetts
Attorney General’s Office
One Ashburton Place
Boston, MA 02108-1518

DATED: October 10, 2018 SH Darscoed

G. Arrowood

 
